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                      8 THOMAS C. HEBRANK
                      9                             UNITED STATES DISTRICT COURT
                     10                          SOUTHERN DISTRICT OF CALIFORNIA
                     11
                     12 THOMAS C. HEBRANK, Federal                               '13CV2179 W WVG
                                                                       Case No. _______________________
                        Equity Receiver,
                     13                                                COMPLAINT FOR
                                     Plaintiff,
                     14                                                (1)   Breach of Contract;
                              vs.                                      (2)   Money Had and Received;
                     15                                                (3)   Unjust Enrichment; and
                        LINMAR MANAGEMENT, INC., a                     (4)   Disgorgement
                     16 California corporation; and Does 1-25,
                     17                    Defendants.
                     18
                     19               THOMAS C. HEBRANK, Federal Equity Receiver, alleges as follows:
                     20                                  JURISDICTION AND VENUE
                     21               1.   This Court has jurisdiction of this matter under 28 U.S.C. Sections
                     22 1345 and 1367(a) and the doctrine of ancillary and supplemental jurisdiction.
                     23               2.   Venue in the Southern District of California is proper under 28 U.S.C.
                     24 Section 1391.
                     25                                           PARTIES
                     26               3.   Plaintiff Thomas C. Hebrank ("Receiver" or "Plaintiff") is the court-
                     27 appointed receiver for First Financial Planning Corporation d/b/a Western Financial
                     28 Planning Corporation (“Western”) and its subsidiaries and affiliates (together, the
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                      1 “Receivership Entities”). Plaintiff was appointed as the Receiver for these entities
                      2 by order ("Order") of this Court, entered on September 6, 2013 and March 13, 2013
                      3 as Document Nos. 10 and 174 in the action entitled Securities and Exchange
                      4 Commission v. Louis V. Schooler, et al., Case No. 3:12-cv-02164-GPC-JMA (the
                      5 "SEC Action"). Among other things, the Order calls for the Receiver to recover and
                      6 marshal for the benefit of creditors and investors of the Receivership Entities any
                      7 and all assets of the receivership estate. The claims asserted in this action are assets
                      8 of the receivership estate.
                      9               4.   On information and belief, Defendant Linmar Management, Inc.
                     10 ("Defendant") is a California corporation with its principal place of business located
                     11 in San Diego, California.
                     12               5.   The true names and capacities, whether individual, corporate, associate
                     13 or otherwise, of Defendants Does 1 through 25, inclusive, are unknown to Plaintiff
                     14 at this time and Plaintiff therefore sues those Defendants by such fictitious names.
                     15 When the true names and capacities of such Defendants are ascertained, Plaintiff
                     16 will amend this Complaint accordingly. Plaintiff is informed and believes and
                     17 thereon alleges that each Defendant designated as a Doe is in some manner
                     18 responsible for the events and happenings herein referred to and approximately
                     19 caused injury and damage thereby to Plaintiff.
                     20                                 GENERAL ALLEGATIONS
                     21               6.   As alleged in the SEC Action, Louis V. Schooler ("Schooler") and
                     22 Western purchased undeveloped land and then sold the land at grossly inflated
                     23 prices, without disclosing the markup, to general partnerships comprised of
                     24 numerous unsophisticated and misled investors. As further alleged in the SEC
                     25 Action, Schooler and Western engaged in securities fraud and other violations in
                     26 raising funds from investors.
                     27               7.   On September 4, 2012, the Securities and Exchange Commission
                     28 ("Commission") filed its Complaint against Schooler and Western, commencing the
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                      1 SEC Action. The Court appointed Plaintiff as temporary receiver over Western and
                      2 its subsidiaries and affiliates on September 6, 2012, and on or about March 13,
                      3 2013, the Court entered its Preliminary Injunction and Order Appointing a
                      4 Permanent Receiver in the SEC Action, granting the Commission's request for a
                      5 preliminary injunction freezing assets, appointing a permanent receiver, and other
                      6 relief.
                      7               8.    Western's books and records reflect that it made a loan to Defendant.
                      8 On information and belief, Schooler is the sole owner of Defendant.
                      9               9.    The loan to Defendant has matured. The amount owing on the loans is
                     10 approximately $57,017.57.
                     11                                      The Promissory Note
                     12               10.   Defendant, as borrower, executed a promissory note ("Note") in favor
                     13 of Western in the principal amount of $40,000, as follows:
                     14                     (a)   Promissory note dated April 14, 2009, made to Defendant in the
                     15 original principal amount of $40,000, and a true and correct copy of which is
                     16 attached hereto, and incorporated herein by this reference, as Exhibit A;
                     17               11.   The loan ("Loan") evidenced by such Note has matured, but Defendant
                     18 has not repaid any portion. Defendant has defaulted under the Note.
                     19               12.   The Receiver-Plaintiff and Western have performed all their
                     20 obligations under the Note.
                     21               13.   On February 12, 2013, the Receiver issued a demand to the Defendant
                     22 for full repayment of the Loan. At that time, the amount due under the Note,
                     23 including interest, was $57,017.57.
                     24               14.   No response to the Receiver's demand was received. Accordingly, in
                     25 March 2013, the Receiver issued a subpoena to Defendant, seeking documents
                     26 relevant to his investigation of the Loan. In early April 2013, Schooler produced a
                     27 small portion of the requested documents. Schooler later made a proposal for
                     28 repayment of the Loan. The Receiver sent a counter-proposal to Schooler's counsel
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                      1 on April 24, 2013. To date, no response to the Receiver's counter-proposal has been
                      2 received.
                      3               15.   On May 23, 2013, the Receiver filed a motion in the SEC Action
                      4 requesting that the Court enter an order authorizing him to pursue claims against
                      5 Defendant. Schooler filed an opposition to this motion on June 20, and the Receiver
                      6 responded with a reply filed on July 18. On August 16, 2013, the Court entered an
                      7 order granting the Receiver's motion and granting him the authority to pursue his
                      8 claims against Defendant.
                      9                                 FIRST CLAIM FOR RELIEF
                     10               (Breach of Contract Against Defendant Linmar Management, Inc.)
                     11               16.   Plaintiff incorporates by reference Paragraphs 1 through 13 of the
                     12 Complaint above.
                     13               17.   Defendant, as borrower, is the obligor under the Note. Defendant is in
                     14 default and breach under the Note in that it has, among other things, failed to make
                     15 payments due and owing thereunder. Plaintiff is therefore entitled to the whole sum
                     16 of principal, interest, and charges due and payable under the Note, plus ongoing
                     17 interests, costs, expenses and attorneys' fees as provided in the Note. Defendant
                     18 owes Western approximately $57,017.57 under the Note.
                     19                                SECOND CLAIM FOR RELIEF
                     20         (Money Had And Received Against Defendant Linmar Management, Inc.)
                     21               18.   Plaintiff incorporates by reference Paragraphs 1 through 17 of the
                     22 Complaint above.
                     23               19.   Defendant has become indebted to Plaintiff for money had and received
                     24 by Defendant, which rightfully belongs to Western, in the approximate sum of
                     25 $57,017.57. Plaintiff has demanded the return of the foregoing money, but despite
                     26 such demand, no portion of the money has been repaid to Plaintiff. There is now
                     27 due and owing the money received by Defendant together with interest thereon.
                     28
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                      1                                 THIRD CLAIM FOR RELIEF
                      2               (Unjust Enrichment Against Defendant Linmar Management, Inc.)
                      3               20.   Plaintiff incorporates by reference Paragraphs 1 through 17 of the
                      4 Complaint above.
                      5               21.   As set forth above, Defendant has received approximately $40,000
                      6 from the Receivership Entities. Despite demand, Defendant has not repaid such
                      7 sums. Defendant has been unjustly enriched in the approximate sum of $57,017.57
                      8 (principal and interest, as provided for in the Note) and to the detriment of Western.
                      9                                FOURTH CLAIM FOR RELIEF
                     10                (For Disgorgement Against Defendant Linmar Management, Inc.)
                     11               22.   Plaintiff incorporates by reference paragraphs 1 through 19 of the
                     12 Complaint above.
                     13               23.   As set forth above, Defendant has received approximately $40,000
                     14 from Western. As alleged in the SEC Action, based upon information and belief,
                     15 Plaintiff alleges that the source of the funds transferred to Defendant was investor
                     16 money raised in violation of federal securities laws. Despite demand being made,
                     17 the funds transferred to Defendant have not been repaid to Western.
                     18               24.   The monies, which, upon information and belief, belong to defrauded
                     19 investors and creditors of Western, continue to be wrongfully retained by
                     20 Defendant. Plaintiff is entitled to have Defendant disgorge $57,017.57 (principal
                     21 and interest, as provided for in the Note) so that such monies may be returned to the
                     22 investors and creditors of the Receivership Estate.
                     23
                     24               WHEREFORE, Plaintiff asks for judgment as follows:
                     25                             ON THE FIRST CLAIM FOR RELIEF
                     26               1.    For judgment that Defendant is in default and breach under the Note
                     27 and awarding Plaintiff damages in an amount of approximately $57,017.57, plus
                     28 interest, costs and attorneys' fees.
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                      1                          ON THE SECOND CLAIM FOR RELIEF
                      2               1.   For judgment that Defendant is indebted to Western in an amount of
                      3 approximately $57,017.57.
                      4                            ON THE THIRD CLAIM FOR RELIEF
                      5               2.   For judgment that Defendant has been unjustly enriched and must
                      6 return to Plaintiff an amount of approximately $57,017.57.
                      7                          ON THE FOURTH CLAIM FOR RELIEF
                      8               3.   For a judgment for disgorgement requiring Defendant to turn over all
                      9 funds received from Westernin an amount of approximately $57,017.57.
                     10                               ON ALL CLAIMS FOR RELIEF
                     11               1.   For reasonable attorneys' fees;
                     12               2.   For costs of suit incurred herein; and
                     13               3.   For such other relief and further relief as the Court deems just and
                     14 proper.
                     15
                     16 Dated: September 13, 2013                       ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                     17                                                 DAVID R. ZARO
                                                                        TED FATES
                     18                                                 KIM A. BUI
                     19
                                                                        By:         /s/ Kim A. Bui
                     20                                                        KIM A. BUI
                                                                               Attorneys for Receiver
                     21                                                       THOMAS C. HEBRANK
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                                         PROMISSORY NOTE #2


Borrower: Linmar Management, Inc.                       Lender: Western Financial Planning Corporation
          5186 Carroll Canyon Road                             5186 Carroll Canyon Road
          San Diego, CA 92121                                   San Diego, CA 92121

Principal Amount: $40,000.00            Fixed Simple Rate·: 7.5%         Date of Note: April 14, 2009

PROMISE TO PAY: Lin mar Management, Inc• ("Borrower") promises to pay to Western Financial
Planning Corporation ("Lender''), or order, in lawful money of the United States of America, the principal
amount of Forty Thousand dollars and no/100 ($40,000.00) or so much as may be outstanding, together
with interest on the unpaid outstanding principal balance.

PAYMENTS: Borrower will pay this loan in full at the end of twelve (12) months. Repayment will include
principal and interest times the number of months the loan will have been outstanding at the time of
repayment. Borrower will pay Lender at the address shown above or at such other place as Lender may
designate in writing. Unless otherwise agreed or required by application oflaw, payment will be applied to
principal and interest.

PREPAYMENT:          Lender agrees that there are no loan fees or other prepaid finance charges. Borrower
may pay without penalty all or a portion of the amount owed earlier than it is due.

DEFAULT:         Borrower will be in default if any of the following happens: (a) Borrower breaks any
promise Borrower has made to Lender, or Borrower fails to perform promptly at the time and strictly in the
manner provided in this Note or any agreement related to this Note, or in any other agreement or loan
Borrower has with Lender. (b) Any representation or statement made or furnished to Lender by Bonower or
on Borrower's behalf is false or misleading in any material respect. (c) Borrower becomes insolvent, a
receiver is appointed for any part of Borrower's property~ Borrower makes an assignment for the benefit of
creditors, or any proceeding is commenced either by Borrower or against Borrower under any bankruptcy or
insolvency laws. (d) Any creditor tries to take any of Borrower's property on or in which Lender has a lien
or security interest. (e) Any of the events described in this default section occurs with respect to any
guarantor of this Note. (f) Lender in good faith deems itself insecure.

LENDERS RIGHTS:                 Upon defau.lt, Lender may declare the entire unpaid balance principal balance
on this Note and all accrued interest immediately due, without notice, and then Borrower will pay that
amount. Upon Borrower's failure to pay all amounts declared due pursuant to this section, including failure
to pay upon final maturity, Lender, at its option, may also, if permitted under applicable law, do one or both
of the following: (a) Increase the rate of interest in this Note to 10% (ten percent), and (b) add any unpaid
accrued interest to principal and such sum, will bear interest therefrom until paid at the rate provided in this
Note, (including any increased rate). Lender may hire or pay someone else to help collect this Note if
Borrower does not pay. Borrower also will pay Lender that amount. This includes, subject to any limits
under applicable law, Lender's attorneys' fees and Lender's legal expenses whether or not there is a lawsuit,
including attorneys' fees and legal expenses for bankruptcy proceedings (including efforts to modify or
vacate any automatic stay or injunction), appeals, and any anticipated post-judgement collection services.




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Borrower also will pay any court costs, in addition to all other sums provided by law, This Note has been
delivered to Lender and accepted by Lender in the State of California: If there is a lawsuit, Borrower agrees
upon Lenders' request to submit to the jurisdiction of the courts of SAN DIEGO County, the State of
California. Subject to the provisions of arbitration, this Note shall be governed by and construed in
accordance with the laws of the State of California.

ARBITRATION:            Lender and Borrower agree that all disputes, claims and controversies between them,
whether individual, joint, or class in nature, arising from this Note or otherwise, including without limitation
contract and tort disputes, shall be arbitr~ted p).lrsuant to t~e Rules of:the_..f:\.mer~can Arbitration Association,
upon request of either party. No act to take or dispose of any collateral securing this Note shall constitute a
waiver of this arbitration agreement or be prohibited by this arbitration agreement. This includes, without
limitation, obtaining injunctive relief or a temporary retraining order; invoking a power of sale under a.ny
deed of trust or mortgage; obtaining a writ of attachment or imposition or a receiver; or exercising any rights
relating to personal property; including taking or disposing of such property with or without judicial process
pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies concerning
the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this
Note, including any claim to rescind, reform or otherwise modify any agreement relating to the collateral
securing this Note, shall also be arbitrated, provided however that no arbitrator shall have the right or the
power to enjoin or restrain any act of any party. Lender and Borrower agree that in the event of an action for
judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision in
any other state, the commencement of such an action.will not constitute a waiver of the right to arbitrate and ·
the court shall refer to arbitration as much of such action, including counterclaims, as lawfully may be
referred to arbitration. Judgement upon any award rendered by any. arbitrator may be entered in any court
having jurisdiction. Nothing in this Note shall preclude any party fr~m seeking equitable relief from a court
of competent jurisdiction. The statute oflimitations, estoppel, waiver, !aches~ and similar doctrines which
would otherwise be applicable in an action brought by a party shall be applicable in any arbitration
proceeding, and the commencement of an arbitration proceeding shall be deemed the commencement of an
action for these purposes. The Federal Arbitration Act shall apply to the construction, interpretation, and
enforcement of this arbitration provision.

GENERAL PROVISIONS:.Lender may delay or forgo enforcing any of its rights or remedies under this
Note without loosing them. Borrower and any other person who signs, guarantees or endorses this Note, to
the extent allowed by law, wruve any applicable statute" of limitations, presentment, demand for payment,
protest and notice of dishonor. Upon any change in the terms of this Note, and unless otherwise expressly
stated in writing, no party who signs this Note, whether.as maker, guarantor, accommodation maker or
endorser, shall be released from liability. All such parties agree that Lender may renew or extend (repeatedly
and for any length of time) this loan, or release any party or guarantor or collateral; or impair, fail to realize
upon or perfect Lender's interest in the collateral; and take any other action deemed necessary by Lender
without the consent of or noti"ce to anyone.
                                                                                '   I


PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE
PROVISIONS OF THIS NOTE, INCLUDING THE PAYMENT PROVISIONS. BORROWER
AGREES TO THE TERMS OF THE NOTE AND ACKNOWLEDGES RECEIPT OF A
COMPLETED COPY OF THE NOTE .


                                           . j.

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